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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

 In re:                                                          Chapter 7

 START MAN FURNITURE, LLC, et                                    Case No. 20-10553 (CTG)
 al.,1
                                                                 Jointly Administered
                          Debtors.
                                                                 Hearing Date: December 6, 2023 at 1:00 p.m. (ET)
                                                                 Objection Deadline: November 29, 2023 at 4:00 p.m. (ET)

  NOTICE OF SECOND INTERIM (“NON-CONTINGENCY”) APPLICATION FOR
 COMPENSATION AND REIMBURSEMENT OF EXPENSES OF GIULIANO MILLER
   AND COMPANY LLC, AS ACCOUNTANTS AND FINANCIAL ADVISORS TO
   THE CHAPTER 7 TRUSTEE FOR THE PERIOD FROM NOVEMBER 1, 2020
                    THROUGH SEPTEMBER 30, 2023

                    PLEASE TAKE NOTICE that on November 15, 2023, Giuliano Miller and

Company LLC, as accountants and financial advisors for the Chapter 7 Trustee (the “Trustee”) to

the estates of the above-captioned debtors, filed the Second Interim (“Non-Contingency”)

Application for Compensation and Reimbursement of Expenses of Giuliano Miller and Company

LLC, as Accountants and Financial Advisors to the Chapter 7 Trustee for the Period From

November 1, 2020 Through September 30, 2023 (the “Application”), seeking interim allowance

of compensation in the amount of $1,142,268.00 and actual and necessary expenses in the

amount of $6,505.89 for a total allowance of $1,148,773.89 and payment of the unpaid amount

of such fees and expenses. A copy of the Application is attached hereto.

                    PLEASE TAKE FURTHER NOTICE that any objection or response to the

Application must be made in writing, and be filed with the United States Bankruptcy Court for


1 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include: Start
Man Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company (f/k/a AVF Holding Company, Inc.) (0291);
SVCE (f/k/a AVCE, LLC) (2509); Start VF Holdings (f/k/a AVF Holdings I, LLC) (2537); Start VF Holdings II (f/k/a AVF
Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start Man Furniture of
Canada, LLC (f/k/a Art Van Furniture of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising,
LLC) (8968); SVF Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198);
and Comfort Mattress LLC (4463)..

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the District of Delaware (the “Court”), 824 North Market Street, 3rd Floor, Wilmington,

Delaware 19801, on or before November 29, 2023 at 4:00 p.m. (prevailing Eastern Time).

                   PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (i) counsel to the Trustee, Pachulski Stang Ziehl

& Jones LLP, 919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705

(Courier 19801), (Attn: Bradford J. Sandler and Colin R. Robinson) bsandler@pszjlaw.com,

crobinson@pszjlaw.com; and (ii) the U.S. Trustee; Benjamin A. Hackman, Office of the United

States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801,

benjamin.a.hackman@usdoj.gov.

                   PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.

                   PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE APPLICATION WILL BE HELD ON DECEMBER 6, 2023

AT 1:00 P.M. (PREVAILING EASTERN TIME) BEFORE THE HONORABLE CRAIG T.

GOLDBLATT, UNITED STATES BANKRUPTCY JUDGE, AT THE UNITED STATES




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BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET,

THIRD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801.

Dated: November 15, 2023             PACHULSKI STANG ZIEHL & JONES LLP


                                      /s/ Peter J. Keane
                                      Bradford J. Sandler (DE Bar No. 4142)
                                      Colin R. Robinson (DE Bar No. 5524)
                                      Peter J. Keane (DE Bar No. 5503)
                                      919 N. Market Street, 17th Floor
                                      P.O. Box 8705
                                      Wilmington, DE 19899 (Courier 19801)
                                      Telephone: (302) 652-4100
                                      Facsimile: (302) 652-4400
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                                                   crobinson@pszjlaw.com
                                                   pkeane@pszjlaw.com

                                      Counsel to Alfred T. Giuliano, Chapter 7 Trustee




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